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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

DONALD J. TRUMP FOR PRESIDENT,                        :
INC., ET AL.                                          :
                                                      :
Plaintiff,                                            :
                                                      :
        v.                                            : CIVIL ACTION NO. 2:20-cv-00966-NR
                                                      :
KATHY BOOCKVAR, ET AL.,                               :
                                                      :
Defendants.                                           :


DELAWARE COUNTY BOARD OF ELECTIONS’ JOINDER IN SECRETARY OF THE
  COMMONWEALTH’S RESPONSE TO PLAINTIFFS’ MOTION FOR A SPEEDY
    DECLARATORY JUDGMENT HEARING AND EXPEDITED DISCOVERY

        Defendant Delaware County Board of Elections (“Delaware County”), by and through

its undersigned counsel, hereby formally joins the Response to Plaintiffs’ Motion for a Speedy

Declaratory Judgment Hearing and Expedited Discovery filed by the Secretary of the

Commonwealth Kathy Boockvar (Doc. No. 48) (the “Commonwealth’s Response”). Delaware

County agrees that the relief requested by Plaintiffs is unnecessary and inappropriate. In

particular, Delaware County underscores that Plaintiffs’ motion is premature prior to a

determination of the viability of their claims, and unnecessarily risks diverting key resources

from Delaware County’s efforts to prepare for the November election.


        Delaware County reserves all rights, including but not limited to defenses and objections

as to venue, service, and personal jurisdiction. The filing of this Notice of Joinder is subject to,

and does not waive any, such defenses and objections.
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Dated: July 13, 2020


                                                Respectfully submitted,

                                                /s/ David Fryman
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                                                Of counsel, pro hac vice applications
                                                pending:

                                                Edward D. Rogers (No. 69337)
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                                                Attorneys for Defendant Delaware
                                                County Board of Elections




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                               CERTIFICATE OF SERVICE

              The undersigned hereby certifies that a true and correct copy of the foregoing

joinder was filed and served on July 13, 2020 via the Court’s CM/ECF system.


Dated: July 13, 2020.
                                                           /s/ David S. Fryman
                                                           David S. Fryman
